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                           IN THE UNITED STATES BANKRUPTCY COURT FOR
                               THE NORTHERN DISTRICT OF MISSISSIPPI

IN THE MATTER OF:                                                          CHAPTER 13 NO:
CARLA EDWARDS
                                                                           17-10200-JDW
505 E VAN DORN AVENUE
HOLLY SPRINGS, MS 38635



                                              NOTICE TO DEBTOR


     NOTICE is hereby given that your plan payment will change from    $762.00       ( MONTHLY )
to  $841.00     ( MONTHLY )       effective in 09/2019. Your plan payment is being remitted      by your
employer / direct / by automatic bank draft.

        The reason for the changes in your plan payment is:

                  Due to a change in your monthly mortgage payment;

                  Due to a claim being filed for a different amount than scheduled;

                  Due to entry of an order;
            x             AFTER SUSPENSION OF PAYMENTS
                  Other: ____________________________________________________________

        If your employer is withholding the plan payment from your wages, you are responsible
for remitting the difference, if any, should your employer fail to withhold the new payment.

       If you are paying by automatic bank draft, please be sure there are sufficient funds in
your account to satisfy the new payment.

         If you are paying direct, please be aware that the Trustee DOES NOT accept personal
checks. You can remit payments online through https://tfsbillpay.com or mail guaranteed funds,
in the form of a cashier's check or money order with your case number and last name in the
description line, to

        Locke D. Barkley
        P.O. Box 1859
        Memphis, TN 38101-1859


Should you have any questions concerning this, please contact your attorney.
Date: 8/30/2019

CC:    SCHNELLER AND LOMENICK, P.A.                                       Respectfully submitted,
       P.O. BOX 417                                                       LOCKE D. BARKLEY
       HOLLY SPRINGS, MS 38635

                                                                          /s/ Locke D. Barkley
                                                                          CHAPTER 13 TRUSTEE
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                                CERTIFICATE OF SERVICE

     I do hereby certify that I electronically filed the foregoing with the Clerk of Court using
 the CM/ECF system, and I hereby certify that I either mailed by United States Postal Service,
 first class, postage prepaid, or electronically notified through the CM/ECF system, a copy of the
 above and foregoing to the Debtor, attorney for the Debtor, the United States Trustee, and other
 parties in interest, if any, as identified below.



 Date: 8/30/2019
                                                                     /s/ Locke D. Barkley
                                                                     LOCKE D. BARKLEY
                                                                     CHAPTER 13 TRUSTEE
